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  IT IS ORDERED as set forth below:



   Date: April 6, 2021
                                                         _________________________________

                                                                       Sage M. Sigler
                                                                U.S. Bankruptcy Court Judge

 ________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE                                                    CASE NUMBER

WAHIDA LATIF,                                            18-68265-SMS

        Debtor.                                          CHAPTER 13


              ORDER GRANTING MOTION TO SUSPEND PLAN PAYMENTS

        Debtor’s Motion to Suspend Plan Payments for a period of three (3) months came before
this Court on March 30, 2021. All creditors were properly served. Debtor’s counsel was present
by telephone. The Trustee stated no opposition to the Motion, and no creditor filed an objection
to the Motion or appeared by telephone to object to it. The Court therefore grants the Debtor’s
Motion: plan payments are suspended for the months of April, May, and June of 2021. Debtor
shall resume paying into the Chapter 13 plan in July of 2021.

                                    END OF DOCUMENT

Prepared by:
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ATLANTA LEGAL AID SOCIETY
DeKalb County Office
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No Opposition:
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Ally Financial
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Roseville, MN 55113-0004

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World Financial Center
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American Express National Bank
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